         Case 1:14-cv-01019-SS Document 193 Filed 03/16/17 Page 1 of 2


                                                                                       !               r,
                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS                       j;
                                                                                     MAR 16            PM 2 57
                                  AUSTIN DIVISION


MONARCH INVESTMENTS, LLC,                                                      .....................    ...

            Plaintiff,
                                                                    CAUSE NO.:
-vs-                                                              A-14-CA-01019-SS

FERNANDO AURRECOECHEA,
ALEJANDRO AURRECOECHEA,
ELIAS V. LORENZANA JR.,
LORENZANA & SARHAN, INC., THE
LORENZANA LAW FIRM, PC, NASH
MARTINEZ, and TEXAS ECONOMIC
REGIONAL CENTER HOLDING
COMPANY, LLC,
               Defendants.


                                         JUDGMENT

       BE IT REMEMBERED on this day the Court entered its order granting in part the

plaintiff's motion for attorneys' fees and its bill of costs, and the Court now enters the following:

               IT IS ORDERED, ADJUDGED, and DECREED that the Court's Judgment of

       December 6, 2016 is AMENDED to reflect the Court's previous denial of Defendants'

       jurisdictional challenge under Federal Rules of Civil Procedure 12(b)(l) and 12(h)(3);

               IT IS FURTHER ORDERED, ADJUDGED, and DECREED that Plaintiff

        Monarch Investments, LLC does have and recover attorneys' fees from Defendants

        Alejandro Aurrecoechea and Fernando Aurrecoechea in the amount of EIGHTY-ONE

        THOUSAND         TWO      HUNDRED         SEVENTY-FIVE         AND      08/100          DOLLARS

        ($81,275.08); and

                IT IS FiNALLY ORDERED, ADJUDGED, and DECREED that the Clerk of

        Court tax costs against Defendants Alejandro Aurrecoechea and Fernando Aurrecoechea
 Case 1:14-cv-01019-SS Document 193 Filed 03/16/17 Page 2 of 2




in the amount of ONE THOUSAND SEVEN HUNDRED FIFTY AND 85/100

DOLLARS ($1,750.85).

SIGNED this the   /    day of March 2017.




                                         SAM SPARKS
                                         UNITED STATES DISTRICT JUDGE




                                     2
